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7                               UNITED STATES DISTRICT COURT
8                             SOUTHERN DISTRICT OF CALIFORNIA
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10     TODD HALL and GEORGE                                 Case No.: 19cv1715-JO-AHG
       ABDELSAYED individually and on
11
       behalf of all others similarly situated,             ORDER GRANTING IN PART AND
12                                        Plaintiffs,       DENYING IN PART THE PARTIES’
                                                            MOTIONS FOR SUMMARY
13     v.                                                   JUDGMENT AND GRANTING IN
14                                                          PART AND DENYING IN PART
       MARRIOTT INTERNATIONAL, INC., a
                                                            PLAINTIFFS’ MOTION TO
15     Delaware corporation,
                                                            CERTIFY THE CLASS
16                                       Defendant.
17
18           In this consumer class action, Plaintiffs Todd Hall and George Abdelsayed (“Lead
19    Plaintiffs” or “Plaintiffs”) brought a deceptive advertising suit against Defendant Marriott
20    International, Inc. (“Marriott”) alleging that the hotel chain inadequately disclosed its resort
21    fees. The parties filed cross motions for summary judgment. Dkt. 140 (“Marriott’s MSJ”);
22    Dkt. 143 (“Pltfs. Partial MSJ”). Plaintiffs also filed a motion to certify the class. Dkt. 144
23    (“Class Cert.”). For the reasons stated below, the Court (1) grants in part and denies in part
24    Marriott’s motion for summary judgment; (2) grants in part and denies in part Plaintiffs’
25    motion for summary judgment; and (3) grants in part and denies in part Plaintiffs’ motion
26    to certify the class.
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1                                             I. BACKGROUND
2            The two Lead Plaintiffs in this case stayed at Marriott hotels and now complain of
3     the resort fees they were required to pay. 1 See generally Dkt. 82 (“TAC”); see also Dkt.
4     143-35, Plaintiffs’ Statement of Undisputed Material Facts (“SUMF”) at 3. Plaintiff Hall
5     stayed at a Marriott hotel in San Diego, California from May 28, 2018 to May 29, 2018,
6     and at a Marriott hotel in Maui from October 10, 2018 to October 12, 2018. SUMF at 55–
7     57. Plaintiff Abdelsayed stayed at a Marriott hotel in Coronado Island, California in July
8     2020. Id. at 61. Both Plaintiffs purchased their Marriott hotel stays through either the
9     Marriott website or mobile application. Id. at 55–62. Marriott charged both Plaintiffs
10    resort fees of $25 per night for their respective stays. Plaintiffs allege that Marriott
11    deceived them by failing to inadequately disclose those fees prior to payment. Id. at 55,
12    61. Plaintiff Abdelsayed testified that he relied on Marriott’s “buried resort fees” and
13    would have wanted to be informed of those resort fees prior to purchase. See Class Cert.,
14    Abdelsayed Decl. ¶¶ 7–8, Ex. B at 218:24–219:21, 261:5–9. Plaintiff Hall testified that he
15    did not see Marriott’s resort fee disclosures and that, if he had, he “most likely” would not
16    have paid or the hotel room. See Marriott’s MSJ, Ex. H (“Hall Dep. Tr.”) at 95:15–96:12.
17    A. Marriott’s Online Booking Process
18           To reserve a hotel room, Plaintiffs completed an online booking process. During the
19    booking process, consumers like Plaintiffs click through consecutive webpages on the
20    Marriott website to view room details and charges prior to booking their stays. On the first
21    page of the booking process, consumers see a list of Marriott hotels and corresponding
22    room rates. See SUMF 6; see also Marriott’s MSJ, Ex. F at 2. This first page reflects that,
23    for each hotel, prices started “from” a particular rate:
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               Resort fees at Marriott hotels are charged for the purpose of providing hotel guests with various
27    bundled amenities such as access to the fitness center and enhanced wi-fi. Marriott’s MSJ at 3–4;
      Marriott’s. MSJ Ex. E, Resort Fee Policy at 3–4; Dkt. 153 (“Pltfs. Opp. to Marriott’s MSJ”), Ex. 8 at p.
28    276.
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19    Id. As seen above, for example, the rates at the “Marriott Marquis San Diego Marina” are
20    priced “From 420 USD/night.” See SUMF at 6–7; Marriott’s MSJ, Ex. F at 2.
21          Consumers must then click on the “View Rates” button to get to the second page in
22    the booking flow. For instance, if a consumer clicked the “View Rates” button for the
23    Marriott Marquis San Diego Marina, the consumer would be brought to a page like the
24    below:
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18    See SUMF at 8; Marriott’s MSJ, Ex. F at 3. As seen above, if a resort fee applied, a notice
19    would appear at the top of the screen in blue, bolded text that is outlined by a blue box,
20    stating “Please note,” “USD 35 daily destination amenity fee will be added to the room
21    rate.” See id. The second page in the booking process also reflects the available rooms
22    (e.g., queen or king room) and corresponding rates, without the resort fee included. See id.
23          Once a consumer selects a particular room, they arrive at the third page in the
24    booking flow and would see a screen like the one below:
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16    As seen above, the third page provides the reservation details, including the “USD
17    Subtotal” comprised of a charge for “USD/night” and a separate charge for “USD taxes
18    and fees,” which includes the resort fee. See SUMF at 14; Marriott’s MSJ, Ex. F at 4.
19          A more detailed breakdown of the charges showing the amount of the resort fee is
20    available if the consumer clicks the “Summary of Charges” dropdown box:
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11    See SUMF at 15; Marriott’s MSJ, Ex. F at 5. As seen above, the detailed summary of
12    charges that appears in the dropdown box shows three charges that comprise the total daily
13    rate: (1) the total cash rate, (2) the resort fee, and (3) estimated government taxes and fees.
14    See id.
15    B. Plaintiffs’ Claims and Proposed Class
16           In addition to alleging that Marriott inadequately discloses resort fees on its own
17    website, Plaintiffs also alleged that Marriott inadequately discloses resort fees on the
18    websites of third-party online travel agencies (“OTAs”), such as Expedia and Orbitz. See
19    id. ¶¶ 7–8, 40–53. 2 Plaintiffs brought the following seven claims against Marriott on the
20    above grounds: (1) violations of California’s Consumers Legal Remedies Act (“CLRA”),
21    Cal. Civ. Code §§ 1750 et seq.; (2) violations of California’s False Advertising Law
22    (“FAL”), Cal. Bus. & Prof. Code §§ 17500 et seq.; (3) violations of California’s Unfair
23    Competition Law (“UCL”), Cal. Bus. & Prof. Code §§ 17200 et seq.; (4) unjust
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               Plaintiffs alleged in the TAC that Marriott deceptively advertised certain hotel amenities like wifi
26    as “free or complimentary” when, in fact, Marriott charged for those amenities with resort fees. See, e.g.,
      TAC ¶ 9. The Court notes that Plaintiffs appear to have abandoned this theory on summary judgment and
27    class certification. See generally Class Cert.; Pltfs. Partial MSJ. Plaintiffs’ only mention of this theory is
      in a footnote supporting the argument that Marriott’s resort fee disclosures are inadequate. See Pltfs.
28    Partial MSJ at 24 & n.6.
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1     enrichment; (5) negligent misrepresentation; (6) concealment; and (7) intentional
2     misrepresentation. See generally Dkt. 82 (“TAC”). Plaintiffs seek damages under their
3     CLRA, negligent misrepresentation, intentional misrepresentation, and concealment
4     claims. See id. ¶¶ 116, 150, 161, 167. Plaintiffs also seek the equitable remedies of
5     restitution and injunctive relief under their CLRA, FAL, UCL, and unjust enrichment
6     claims. See id. ¶¶ 116, 123, 136–37, 145.
7           Both parties filed cross motions for summary judgment of the above claims.
8     Plaintiffs also request that this Court certify a nationwide class and a California class.
9     Plaintiffs propose to certify the following nationwide class for their state common law
10    claims for unjust enrichment, negligent misrepresentation, concealment, and intentional
11    misrepresentation:
12                 All persons in the United States who reserved or booked a
13                 Marriott managed or franchised hotel room online through the
                   Marriott.com website or Marriott mobile app and who paid a
14                 resort fee, destination fee, amenity fee, or destination amenity fee
15                 in their respective state of citizenship on or after September 9,
                   2015 and until the Class is certified excluding Defendant and
16                 Defendant’s officers, directors, employees, agents and affiliates,
17                 and the Court and its staff.
18    Class Cert. at 2. Plaintiffs also propose to certify the following California class under their
19    CLRA, UCL, and FAL claims:
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                   All persons in California who reserved or booked a Marriott
21                 managed or franchised hotel room online through the
                   Marriott.com website or Marriott mobile app and who paid a
22
                   resort fee, destination fee, amenity fee, or destination amenity fee
23                 on or after September 9, 2015 and until the Class is certified
                   excluding Defendant and Defendant’s officers, directors,
24
                   employees, agents and affiliates, and the Court and its staff. See
25                 id.
26    C. Marriott’s Class Action Waiver Defense
27          Marriott asserts an affirmative class action waiver defense against class members
28    that enrolled in its rewards program on or after April 24, 2015. In its answer, Marriott

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1     asserted the defense that “[s]ome or all of the putative class members are subject to
2     mandatory arbitration and/or class action waiver provision.” Dkt. 92 at 26. The company
3     bases this affirmative defense on its argument that consumers who enrolled in Marriott’s
4     rewards program agreed to waive their right to join class actions against Marriott.
5     According to Marriott, beginning on April 24, 2015, individuals who signed up for
6     Marriott’s rewards membership were notified that they were waiving their rights to join a
7     class action as part of the terms and conditions of rewards membership. By signing up for
8     rewards membership, these individuals therefore agreed to waive that right. See Dkt. 172
9     (“Marriott’s Supp. Br.”) at 2, Ex. B; Dkt. 154 (“Class Cert. Opp.”), Decl. of Theresa
10    Coetzee, Exs. A–G. While there is no evidence in the record that the two Lead Plaintiffs–
11    –who enrolled in Marriott’s rewards program before 2015––agreed to Marriott’s class
12    action waiver, Marriott asserts this defense against all class members who enrolled in
13    Marriott’s rewards program on or after April 24, 2015.
14                   II. LEGAL STANDARD ON SUMMARY JUDGMENT
15          Summary judgment is appropriate under Rule 56 of the Federal Rules of Civil
16    Procedure if the moving party demonstrates the absence of a genuine issue of material fact
17    and entitlement to judgment as a matter of law. Celotex Corp. v. Catrett, 477 U.S. 317,
18    322 (1986). A fact is material when, under the governing substantive law, it could affect
19    the outcome of the case. Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986);
20    Freeman v. Arpaio, 125 F.3d 732, 735 (9th Cir. 1997). A dispute as to a material fact is
21    genuine if there is sufficient evidence for a reasonable jury to return a verdict for the
22    nonmoving party. Anderson, 477 U.S. at 248–50.
23          A party seeking summary judgment always bears the initial burden of establishing
24    the absence of a genuine issue of material fact. Celotex, 477 U.S. at 323. The moving
25    party can satisfy this burden in two ways: (1) by presenting evidence that negates an
26    essential element of the nonmoving party’s case; or (2) by demonstrating that the
27    nonmoving party failed to establish an essential element of the nonmoving party’s case on
28    which the nonmoving party bears the burden of proof at trial. Id. at 322–23. The court

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1     must view all inferences drawn from the underlying facts in the light most favorable to the
2     nonmoving party. Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 587
3     (1986).   “Credibility determinations, the weighing of evidence, and the drawing of
4     legitimate inferences from the facts are jury functions, not those of a judge, [when] he [or
5     she] is ruling on a motion for summary judgment.” Anderson, 477 U.S. at 255.
6                          III. DISMISSAL OF EQUITABLE CLAIMS
7           Plaintiffs bring claims seeking both damages and equitable remedies, but only their
8     claims seeking damages may proceed at this stage. As discussed below, Plaintiffs are not
9     entitled to restitution and injunctive relief under their CLRA, FAL, UCL, or unjust
10    enrichment claims because (1) Plaintiffs lack standing to seek injunctive relief, and (2) the
11    Court lacks equitable jurisdiction over Plaintiffs’ equitable claims.
12    A. Plaintiffs Do Not Have Standing to Seek Injunctive Relief
13          First, the Court addresses whether Plaintiffs have standing to seek injunctive relief.
14    The standing doctrine addresses “whether the litigant is entitled to have the court decide
15    the merits of the dispute.” Warth v. Seldin, 422 U.S. 490, 498 (1975). Standing is required
16    for each form of relief requested. Friends of the Earth, Inc. v. Laidlaw Envtl. Servs. (TOC)
17    Inc., 528 U.S. 167, 185 (2000). To have standing, a plaintiff must have an “injury in
18    fact”—“an invasion of a legally protected interest which is (a) concrete and particularized,
19    and (b) actual or imminent, not conjectural or hypothetical.” Lujan v. Defenders of
20    Wildlife, 504 U.S. 555, 560 (1992). “Where standing is premised entirely on the threat of
21    repeated injury, a plaintiff must show ‘a sufficient likelihood that he will again be wronged
22    in a similar way.’” Davidson v. Kimberly-Clark Corp., 889 F.3d 956, 967 (9th Cir. 2018)
23    (quoting City of Los Angeles v. Lyons, 461 U.S. 95, 102 (1983)).
24          In the deceptive marketing context, “a previously deceived consumer may have
25    standing to seek an injunction” where the threat of future harm is imminent rather than
26    conjectural or hypothetical. See Davidson, 889 F.3d at 969 (citation omitted). In Davidson,
27    the Court found that a plaintiff alleging that wipes were deceptively labeled “flushable”
28    had standing to seek injunctive relief because she would have “no way of determining

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1      whether the representation [was] in fact true” when contemplating purchases in the future.
2      See id. at 969–72. Ultimately, the Davidson plaintiff’s “inability to rely on the validity” of
3      the “flushable” label going forward was a sufficiently imminent threat of future harm to
4      constitute an injury in fact for standing purposes. See id.
5            Courts applying Davidson, however, have found that the threat of future harm is not
6      sufficiently imminent where a plaintiff could “easily discover whether a previous
7      misrepresentation had been cured without first buying the product at issue.” See, e.g.,
8      Cimoli v. Alacer Corp., 546 F. Supp. 3d 897, 906–07 (N.D. Cal. 2021) (citation omitted)
9      (“Because Plaintiff [now] knows that he can determine the Products’ dosages by consulting
10     the back labels, Plaintiff cannot plausibly allege that he faces a real or immediate threat of
11     similar, future harm”); Matic v. United States Nutrition, Inc., 2019 WL 3084335, at *8
12     (C.D. Cal. Mar. 27, 2019) (finding plaintiff lacked standing because “he knows precisely
13     where to find” clarifying information on the product label); Rahman v. Mott’s LLP, 2018
14     WL 4585024, at *3 (N.D. Cal. Sept. 25, 2018) (finding that even if a plaintiff’s
15     understanding of a label was reasonable at one point, “he is now aware that such a belief
16     is unfounded” and “there is no future risk that plaintiff will be misled” in the same way).
17           The Court finds that Plaintiffs do not have standing to seek injunctive relief because
18     they do not face a real threat of being deceived about Marriott’s resort fees in the future.
19     Here, as detailed more fully below, Plaintiffs’ only surviving theory of liability is that
20     Marriott did not disclose resort fees clearly enough. See infra Section IV.A. Plaintiffs do
21     not contend that Marriott failed to disclose the existence of resort fees, only that the manner
22     and placement of those disclosures were misleading and inadequate. See Pltfs. Partial MSJ
23     at 5–8. Thus, even if Plaintiffs’ belief that no resort fee existed was reasonable at the time
24     of their purchases, they now know that resort fees were included and know precisely where
25     to look to find Marriott’s resort fee disclosures. See id. Specifically, they now know that
26     Marriott’s resort fees are disclosed in a blue box on the second page of the booking flow
27     and again in the “Summary of Charges” dropdown box on the third page of the booking
28     flow. Unlike in Davidson, Plaintiffs could easily determine whether Marriott charges a

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1      resort fee when reserving hotel rooms in the future—they therefore are not likely to be
2      deceived or wronged again in the same way. The Court therefore finds that Plaintiffs lack
3      standing to seek injunctive relief.
4      B. The Court Does Not Have Equitable Jurisdiction
5               Second, the Court examines whether Plaintiffs have an adequate damages remedy;
6      if so, it cannot consider Plaintiffs’ equitable claims for restitution. Although “[e]quitable
7      jurisdiction is distinct from subject matter jurisdiction . . . both are required for a federal
8      court to hear the merits of an equitable claim.” Guzman v. Polaris Indus. Inc., 49 F.4th
9      1308, 1314 (9th Cir. 2022); Schlesinger v. Councilman, 420 U.S. 738, 754 (1975). Unlike
10     a state court, a federal court has equitable jurisdiction to award equitable relief only where
11     a plaintiff has no adequate legal remedy against a defendant based on the same harm. See
12     Sonner v. Premier Nutrition Corp., 971 F.3d 834, 842 (9th Cir. 2020). Thus, where
13     “monetary damages provide[] an adequate remedy,” a federal court may not consider the
14     merits of equitable claims for restitution, disgorgement, or injunctive relief. See Franklin
15     v. Gwinnett Cnty. Pub. Sch., 503 U.S. 60, 75–76; see also, e.g., Feitelberg v. Credit Suisse
16     First Bos., LLC, 134 Cal. App. 4th 997, 1009 (2005) (noting that restitution and injunctive
17     relief are equitable in nature). Moreover, certain claims––such as the UCL, the FAL, and
18     unjust enrichment––only provide for equitable relief and thus, are impermissible where
19     adequate money damages are available. See Guzman, 49 F.4th at 1313 (“[T]he UCL
20     provides only for equitable remedies.”); In re Vioxx Class Cases, 180 Cal. App. 4th 116,
21     130 (2009) (same as to the FAL); Zapata Fonseca v. Goya Foods Inc., 2016 WL 4698942,
22     at *7 (N.D. Cal. Sept. 8, 2016) (same as to unjust enrichment). Plaintiffs bear the burden
23     to establish that they lack an adequate damages remedy before they can obtain equitable
24     relief. See Sonner, 971 F.3d at 844.
25              Here, the Court finds that damages are adequate to remedy the harms that Plaintiffs
26     allegedly suffered due to the inadequate disclosure of resort fees. Plaintiffs allege one
27     theory of harm (i.e., hidden resort fees) and request one remedy: “a full refund of resort
28     fees.”     See Class Cert. at 25.      With their negligent misrepresentation, intentional

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1      misrepresentation, concealment, and CLRA claims, Plaintiffs seek money damages to
2      recover the amounts they paid in resort fees. With their equitable claims, Plaintiffs request
3      restitution for the same amounts—a refund of resort fees. Plaintiffs cannot recover this
4      amount twice, first as damages and then as restitution. Plaintiffs, therefore, “fail[] to
5      explain how the same amount of money for the exact same harm is inadequate or
6      incomplete.” Sonner, 971 F.3d at 844 (affirming dismissal of restitution claims where
7      plaintiff sought the same amount in damages and restitution). Plaintiffs have not met their
8      burden to plead that these money damages are inadequate to remedy their harm, let alone
9      point to evidence of their inadequacy. See generally TAC; see also Pltfs. Partial MSJ;
10     Class Cert. Accordingly, because Plaintiffs have an adequate damages remedy, this Court
11     lacks jurisdiction over their equitable claims for restitution. See Guzman, 49 F.4th at 1312–
12     15 (finding at summary judgment stage that plaintiff with a CLRA damages claim based
13     on misleading advertising could not pursue restitution under the UCL).
14           For the above reasons, the following equitable claims are dismissed without
15     prejudice for lack of standing or equitable jurisdiction: (1) the first cause of action under
16     the CLRA, to the extent it requests injunctive relief; (2) the second cause of action under
17     the FAL; (3) the third cause of action under the UCL; and (4) the fourth cause of action for
18     unjust enrichment. Below, the Court addresses the parties’ pending motions solely with
19     respect to Plaintiffs’ remaining claims for damages under the CLRA, negligent
20     misrepresentation, intentional misrepresentation, and concealment.
21                         IV. MOTIONS FOR SUMMARY JUDGMENT
22     A. Plaintiffs’ CLRA Claim
23           On summary judgment, Plaintiffs argue under two distinct theories that Marriott’s
24     booking process is deceptive under the CLRA. See Pltfs. Partial MSJ. Under their first
25     “bait and switch” theory, consumers rely on the room price advertised on the first page of
26     the online booking process and click further into the booking process only to find that––
27     after taxes and fees are added––the total price of the stay is higher. See, e.g., Pltfs. Partial
28     MSJ at 1, 14–15. According to Plaintiffs, Marriott dangles the lower rate on the first page,

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1      which does not include resort fees and taxes, to deceptively lure consumers further into the
2      online booking process. See id. By the time consumers discover that the final price is
3      much higher, they are so swept up in the momentum of the purchase that they pay more for
4      their stay than they otherwise would have. See id.
5            Under Plaintiffs’ second theory, consumers do not understand that they are paying
6      resort fees because Marriott does not adequately disclose them. See, e.g., id. at 5–8. While
7      there is a blue box with resort fee information on the second page of the booking process,
8      Plaintiffs argue that it is deceptively inconspicuous because it is in smaller print, a different
9      color font, and at the top of the page instead of next to the price information at the bottom
10     of the page. See id. at 5. While Marriott discloses the room rate plus an additional amount
11     for “USD taxes and fees” on the third page of the booking process, Plaintiffs argue the
12     “taxes and fees” disclosure is confusing because it does not explicitly specify “resort fees”
13     and causes consumers to believe that the fees are entirely government related. See id. at
14     6–7, 14–15. Consumers can only discover that “taxes and fees” includes the hotel’s resort
15     fee if they click on a dropdown box for “Summary of Charges.” See id. at 6–8. Plaintiffs
16     theorize that, because of these inadequate disclosures, consumers are not aware at the end
17     of the booking process that any portion of the total price is attributable to a resort fee. See
18     generally id.
19           1. Plaintiffs’ “Bait and Switch” Theory
20           Because Plaintiffs appear to proceed under two distinct theories of deception under
21     the CLRA, the Court first addresses the viability of Plaintiff’s “bait and switch” theory.
22           To establish a violation of the CLRA, Plaintiffs must identify statements that are
23     likely to deceive a reasonable consumer. This “reasonable consumer” test requires
24     Plaintiffs to demonstrate that “members of the public are likely to be deceived” by
25     Marriott’s representations about the total price. See Freeman v. Time, Inc., 68 F.3d 285,
26     289 (9th Cir. 1995) (quotation omitted and emphasis added); see also Shaeffer v. Califia
27     Farms, LLC, 44 Cal. App. 5th 1125, 1136 (2020). “‘Likely to deceive’ indicates that the
28     ad is such that it is probable that a significant portion of the general consuming public or

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1      of targeted consumers, acting reasonably in the circumstances, could be misled.” Lavie v.
2      Procter & Gamble Co., 105 Cal. App. 4th 496, 508 (2003). “This requires more than a
3      mere possibility that [a representation] ‘might conceivably be misunderstood by some few
4      consumers viewing it in an unreasonable manner.” Ebner v. Fresh, Inc., 838 F.3d 958, 965
5      (9th Cir. 2016) (quoting Lavie, 105 Cal. App. 4th 496). Whether a representation is
6      deceptive is determined by viewing it in the context of the commercial interaction as a
7      whole. See Freeman, 68 F.3d at 290; Davis v. HSBC Bank Nev., N.A., 691 F.3d 1152, 1162
8      (9th Cir. 2012); Salazar v. Walmart, Inc., 83 Cal. App. 5th 561, 569 (2022) (“[I]n
9      determining whether a reasonable consumer would have been misled by a particular
10     advertisement, context is crucial.”) (quoting Fink v. Time Warner Cable, 714 F.3d 739,
11     742 (2d Cir. 2013)). 3
12            Whether a business practice is deceptive will usually be a question of fact that cannot
13     be resolved as a matter of law. See, e.g., Linear Technology Corp. v. Applied Materials,
14     Inc., 152 Cal. App. 4th 115, 134–35 (2007). Although less common, where the material
15     facts are undisputed, whether a reasonable consumer is likely to be deceived can be decided
16     as a matter of law. See Belton v. Comcast Cable Holdings, LLC, 151 Cal. App. 4th 1224,
17     1241–42 (2007).        A representation can be non-deceptive as a matter of law where
18     qualifying language makes the meaning of the allegedly deceptive representation clear.
19     See, e.g., Freeman, 68 F.3d 285. In Freeman, the Ninth Circuit found that a sweepstakes
20     promotion was not deceptive as a matter of law where qualifying language “expressly and
21     repeatedly” appeared regarding the requirements for winning the sweepstakes. Id. at 289.
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                 See also, e.g., Salazar v. Target Corp., 83 Cal. App. 5th 571, 584 (2022) ([“[D]eceptive
25     advertising claims should take into account all the information available to consumers and the context in
       which that information is provided and used.”) (citation omitted); Belton v. Comcast Cable Holdings,
26     LLC, 151 Cal. App. 4th 1224, 1241–42 (2007) (examining likelihood that reasonable consumer would be
       deceived “[i]n context”); Franklin Mint Co. v. Manatt, Phelps & Phillips, LLP, 184 Cal. App. 4th 313, 35
27     (2010) (same); Delman v. J. Crew Grp., Inc., 2017 WL 3048657, at *7 (C.D. Cal. May 15, 2017) (“The
       question is how a reasonable consumer would interpret the phrase . . . in the context of the specific
28     commercial interaction that Plaintiff has challenged.”).
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1      In so holding, the Court stated that reasonable consumers are presumed to read “qualifying
2      language [that] appears immediately next to the representations it qualifies.” Id. Both
3      district and state courts in California have reached similar conclusions that such explicit
4      and conspicuous qualifying disclosures can render allegedly deceptive statements non-
5      deceptive as a matter of law. See, e.g., Simpson v. The Kroger Corp., 219 Cal. App. 4th
6      1352, 1371–72 (2013) (same where a product called “Challenge Butter” and advertised as
7      “Spreadable Butter” stated in smaller text that the product contained canola oil); Bobo v.
8      Optimum Nutrition, Inc., 2015 WL 13102417, at *5 (S.D. Cal. Sept. 11, 2015)
9      (“a reasonable consumer, like the plaintiff in Freeman, cannot look at only one statement
10     to the exclusion of everything else and claim he has been misled.”). 4
11            Even when there is no question that the initial deception was cured by a later
12     disclosure, a company can still be liable for deceptive practices that cause consumers to be
13     lured in and “swept up” in the buying process. In Veera v. Banana Republic, LLC, the
14     court found that an initial deception can cause consumers to invest significant amounts of
15     time and become so swept up in the buying process that later qualifying disclosures cannot
16     cure the original deception. See 6 Cal. App. 5th 907, 920 (2016); see also Pltfs. Opp. To
17     Marriott’s MSJ at 3–4. There, a store’s window advertised “40 percent off purchases,”
18     which “led [consumers] to enter the store, to shop, to select items, to decide to purchase
19     them, and to stand in line to make the purchases.” Id. at 911, 920. The court found that
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22            4
                 See also Plotkin v. Sajahtera, Inc., 106 Cal. App. 4th 953, 966 (2003) (reasonable consumer not
       likely to be deceived where bold print on valet “ticket provide[d] reasonable and advance notice of the
23     [valet] charge.”); Downey v. Pub. Storage, Inc., 44 Cal. App. 5th 1103, 1118 (2020) (denying class
       certification where advertisements stated $1 and total charges were higher, but where additional charges
24     were disclosed prior to purchase); Shvarts v. Budget Group, Inc., 81 Cal. App. 4th 1153, 1160 (2000)
25     (affirming dismissal because car renters were not likely to be misled as a matter of law regarding a
       refueling charge for rental cars where the amount per gallon was clearly printed on the first page of the
26     rental agreement); Razo v. Ashley Furniture Indus., Inc., 782 F. App’x 632, 633 (9th Cir. 2019) (“a
       reasonable consumer would have read the unambiguous and truthful disclosures placed on the front and
27     back of Ashley’s DuraBlend hangtag”); Dinan v. Sandisk LLC, 2019 WL 2327923, at *7 (N.D. Cal. May
       31, 2019) (reasonable consumer not likely to be deceived regarding the number of bytes in a storage device
28     where the packaging disclosed it).
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1      even though consumers learned that items were not discounted as promised prior to
2      purchase, by the time qualifying disclosures were made, the consumers were “invested in
3      the decision to buy and swept up in the momentum of events.” See id. at 920–21. In
4      reaching this holding, the Veera court emphasized that the plaintiffs had spent 40 minutes
5      or more shopping, waited in lines of 15 or more people, and felt pressured to purchase once
6      they reached the front of the line due to embarrassment. See id. at 912–13; 920–21.5
7      Because of the time investment and pressure of embarrassment, the pre-purchase disclosure
8      about total price was insufficient to cure the initial deception.
9             Here, Marriott’s disclosures regarding the total price of the hotel stays are
10     conspicuously disclosed by the end of the internet booking process. At the outset of the
11     process, consumers are told that rooms are available starting “from” a certain amount. The
12     parties do not dispute, however, that additional fees are disclosed multiple times in the
13     booking process. See SUMF 2–16. The undisputed facts indicate the following: (1) the
14     existence and amount of daily resort fees and a higher nightly room rate than the original
15     “from” rate are disclosed at page two of the booking process; (2) the final nightly total,
16     including taxes and resort fees, is disclosed in bold at page three of the booking process;
17     (3) the final total is disclosed again in bold at page four of the booking process prior to
18     payment. See id. During this booking process, price increases from the initial “from” rate
19     are disclosed throughout and the total price is stated twice prior to final purchase in bolded
20     text. Under these circumstances, a reasonable consumer would not have looked solely at
21     the advertised “from” price on the first page of the booking process and ignored every
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                 Nearly every court to consider Veera has noted that its holding is limited to situations where
25     disclosures are ineffective because they are made when a consumer is already “invested” and is “swept
       up” in the “momentum.” See, e.g., Downey, 44 Cal. App. 5th at 1122–23 (noting that Veera did not hold
26     that all post-advertising disclosures are ineffective); Weisberg v. Takeda Pharms. U.S.A., Inc., 2018 WL
       4043171, at *9 (C.D. Cal. Aug. 21, 2018) (describing Veera as limited to facts where “a consumer
27     becomes invested in the decision to buy and even after the deception is revealed is swept up in the
       momentum of events, [and] nonetheless buys at the inflated price, despite his or her better judgment.”)
28     (citation omitted).
                                                         16
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1      ensuing price disclosure. Bobo, 2015 WL 13102417 at *5 (a reasonable consumer “cannot
2      look at only one statement to the exclusion of everything else and claim he has been
3      misled.”); see also Harris v. Las Vegas Sands L.L.C., 2013 WL 5291142, at *5 (C.D. Cal.
4      Aug. 16, 2013) (finding advertised hotel rates not deceptive as a matter of law under the
5      reasonable consumer test because the existence of resort fees, taxes, and amounts were
6      disclosed prior to booking). Because the higher total price was clearly and conspicuously
7      disclosed by the end of the booking transaction, Plaintiffs only have a cognizable theory if
8      they can establish that the initial deception caused consumers to be “swept up” in the
9      booking process under Veera. 6
10            Unfortunately for Plaintiffs, the Veera “bait-and-switch” paradigm is not applicable
11     here. First, the evidence demonstrates that Plaintiffs did not invest significant time in the
12     purchase process, a factor that was critical to the Veera court’s decision. See Veera, 6 Cal.
13     App. 5th at 920–21. The consumers in Veera invested 40 minutes or more in the shopping
14     process before learning that the price was higher than originally advertised. See id. Here,
15     the only evidence of time investment is Plaintiff Hall’s testimony that the entire booking
16     process, from start to finish, took about 10 minutes. See Hall Dep. Tr. at 237:16–18. In
17     addition, unlike the consumers in Veera, Plaintiffs here quickly learned that the total price
18     was higher than originally advertised; this information was not obscured or buried during
19     the commercial interaction until the last minute. See id. Because a higher price appears
20     on the second page of the booking flow, the time Plaintiffs invested before any
21     misapprehension about total price was dispelled is the amount of time that it took to click
22     the “View Rates” button on the first page of the booking flow. Moreover, Plaintiffs’ own
23     testimony confirms that––unlike the plaintiffs in Veera––each was aware of, and
24     comfortable with, the total price prior to purchase. Plaintiff Abdelsayed testified that he
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                 The Honorable Judge Sammartino formerly presided over this action and declined to dismiss
       Plaintiff’s “bait and switch” theory after noting that the court was required to draw all reasonable
28     inferences in Plaintiffs’ favor with respect to their novel legal theory. See Dkt. 18 at 21–23.
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1      knew the advertised room rate on the first page would not be the total, was aware that the
2      price increased throughout the booking process and agreed to the final price before
3      booking. See Marriott’s MSJ, Ex. G (“Abdelsayed Dep. Tr.”) at 83:20–84:20; 179:14–
4      182:1; 246:14–247:1; 251:1–19. Plaintiff Hall similarly testified that he was aware that
5      the price increased throughout the booking process and was aware of the total before
6      booking. See, e.g., Hall Dep. Tr. at 132:11–24. Plaintiffs have, therefore, failed to support
7      their “bait and switch” theory with evidence suggesting that this case falls within Veera’s
8      ambit.
9               For the above reasons, the Court concludes that Plaintiffs’ bait and switch theory of
10     deception fails as a matter of law. Any consumer’s perception that the price reflected on
11     the first page of Marriott’s booking process constituted the total price is quickly and
12     explicitly dispelled at every other page in the booking process. Based on the undisputed
13     facts, the Court finds no likelihood of deception as a matter of law. See, e.g., SUMF at 6–
14     15; Marriott’s Exhibit F. Marriott is entitled to summary judgment on this aspect of
15     Plaintiffs’ claims.
16              2. Plaintiffs’ Claims Based on Inadequate Disclosure of Resort Fees
17              Next, the Court turns to Plaintiffs’ second theory of deception under the CLRA: that
18     consumers pay for a hotel room without understanding that a resort fee is a component of
19     the total price. Because the Court finds that there are disputed issues of fact regarding the
20     deceptiveness of Marriott’s booking process and the adequacy of its disclosures, the Court
21     declines to grant summary judgment on this theory.
22              As discussed above, unless the disclosures accompanying a potentially deceptive
23     statement are so explicit and conspicuous that the court can make a determination as a
24     matter of law, the question of whether a reasonable consumer is likely to be deceived by
25     any particular combination of statements, omissions, and qualifying disclosures remains a
26     question of fact. See, e.g., Linear, 152 Cal. App. 4th at 134–35; Williams v. Gerber Prods.
27     Co., 552 F.3d 934, 939 (9th Cir. 2008) (finding that consumers are not required to “look
28     beyond misleading representations on the front of the [tag] to discover the truth . . . in small

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1      print on the side of the [tag].”); O’Connor v. Uber Techs., Inc., 2016 WL 9087256, at *2
2      n.1 (N.D. Cal. Mar. 30, 2016) (finding that in contrast to cases like Freeman, “in the instant
3      case, the disclaimer in the rider agreement is on page five of an eight-page document, and
4      does not immediately follow any of Uber’s alleged representations that tip is included.”);
5      Chase v. Hobby Lobby Stores, Inc., 2018 WL 786743, at *4 (S.D. Cal. Feb. 8, 2018)
6      (“qualifying language was not repeatedly asserted”).
7            Unlike its disclosure of the total price, Marriott does not repeatedly and
8      conspicuously disclose resort fees throughout the booking process. On the second page of
9      Marriott’s booking process, a blue box appears at the top of the page disclosing a resort
10     fee. See SUMF at 8; Marriott’s MSJ, Ex. F at 3. This blue box disclosure is the first text
11     to appear on the page and is bolded and outlined but is smaller than the surrounding text
12     and does not appear immediately next to the hotel price information. See Marriott’s MSJ
13     at 14–15; see also Pltfs. Partial MSJ at 6. Next, the third page clearly discloses additional
14     “taxes and fees,” but does not disclose a resort fee––consumers can only discover that a
15     resort fee is included in this amount by clicking on the “Summary of Charges” drop-down
16     box. See SUMF at 8, 14–15; Marriott’s MSJ, Ex. F at 3–5. These resort fee disclosures
17     are not conspicuous enough for the Court to find them nondeceptive as a matter of law. A
18     factfinder should resolve these genuine and material factual disputes about whether
19     consumers would notice and understand the disclosures due to their font size, color, and
20     placement within the context of the entire transaction. Indeed, Plaintiffs point to survey
21     evidence, that approximately 50% of consumers do not notice these disclosures and do not
22     know they paid resort fees. See Pltfs. Ex. 11. 7 Therefore, the Court finds that there are
23     disputed issues of material fact regarding whether a reasonable consumer would be
24     deceived by Marriott’s resort fee disclosures and denies Marriott’s request for summary
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                 Citations to “Pltfs. Ex.” refer to the exhibits filed in support of Pltfs. Partial MSJ.
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1      judgment on these claims. The same factual disputes also preclude the Court from granting
2      Plaintiffs’ request for summary judgment in their favor on the CLRA claim.
3      B. Plaintiffs’ Negligent Misrepresentation Claim
4            Because Plaintiffs’ remaining theory rests on the inadequacy of Marriott’s
5      disclosures rather than its publication of a false statement, Plaintiffs cannot bring a
6      negligent misrepresentation claim. Negligent misrepresentation is the “assertion, as a fact,
7      of that which is not true, by one who has no reasonable ground for believing it to be true.”
8      Cal. Civ. Code, § 1710, subd. (2) (emphasis added). Under California law, while fraud
9      liability can be based on “suppression of a fact,” negligent misrepresentation is narrower
10     and requires an affirmative “false statement of a past or existing material fact.” Shamsian
11     v. Atlantic Richfield Co., 107 Cal. App. 4th 967, 984 (2003); see also Cal. Civ. Code,
12     § 1710, subd. (2). Accordingly, negligent misrepresentation claim cannot be based on the
13     omission nor suppression of a material fact. See id.; see also Byrum v. Brand, 219 Cal.
14     App. 3d 926, 941–42 (1990) (“clearly a representation is an essential element [of negligent
15     misrepresentation]”); Huber, Hunt & Nichols, Inc. v. Moore, 67 Cal. App. 3d 278, 304 (Ct.
16     App. 1977) (“[n]o . . . court [has] held that the doctrine of negligent misrepresentation
17     applies to [i]mplied representations. In all cases a ‘positive assertion’ was involved”). As
18     discussed above, Plaintiffs do not dispute that Marriott disclosed resort fees during the
19     booking process and do not argue that the information in the resort fee disclosures was
20     false. See SUMF 6, 8, 14–15. Instead, Plaintiffs’ only remaining theory is that the resort
21     fee disclosures were so inconspicuous that consumers did not notice them. See, e.g., Pltfs.
22     Ex. 11. This theory does not include an affirmative representation constituting a “false
23     statement of past or existing material fact.” See Shamsian, 107 Cal. App. 4th at 984.
24     Accordingly, because they cannot establish an essential element of negligent
25     misrepresentation, Plaintiffs cannot proceed under this claim.
26     C. Plaintiffs’ OTA Claims
27           Next, the Court considers Plaintiffs’ claims that Marriott is liable for allegedly
28     deceptive statements on the websites of third-party online travel agencies (“OTAs”) such

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1      as Expedia and Orbitz. See, e.g., TAC ¶¶ 40–53. Marriott moves for summary judgment
2      on these OTA claims, arguing that no evidence shows Marriott controls how these third
3      parties disclose resort fees on their websites. See Marriott’s MSJ at 24–25. For the reasons
4      described below, the Court grants summary judgment to Marriott with respect to Plaintiffs’
5      OTA claims.
6             Marriott is entitled to summary judgment on the OTA claims because Plaintiffs point
7      to no evidence in the record that Marriott had any control over how third-party, online
8      travel companies presented resort fee information. Under the CLRA, liability cannot be
9      predicated on vicarious liability unless there is evidence of “personal participation in the
10     unlawful practices and unbridled control” over those deceptive practices. Perfect 10, Inc.
11     v. Visa Int’l Serv., Ass’n, 494 F.3d 788, 808 (9th Cir. 2007) (citation omitted); see also
12     Prudencio v. Midway Importing, Inc., 831 F. App’x 808, 811 (9th Cir. 2020); Yordy v.
13     Plimus, 2014 WL 1466608, at *3 (N.D. Cal. Apr. 15, 2014) (collecting cases). 8 Here, to
14     establish the requisite control, Plaintiffs rely solely on evidence that Marriott sent OTAs
15     the hotel prices to post on the OTA websites. See Pltfs. Opp. to Marriott’s MSJ at 27–28;
16     Pltfs. Exs. 16–18. This evidence, however, is irrelevant to the sole remaining theory of
17     liability––whether the manner in which resort fees were disclosed was likely to deceive
18     and therefore unlawful. See supra Section IV.A. Plaintiffs have not argued or submitted
19     evidence to show that Marriott had any control over where, how conspicuously, or how
20     many times resort fees were disclosed on these third-party websites. See Dkt. 153, Exs.
21     16–18. In fact, some of Plaintiffs’ evidence suggests that Marriott had no control: the
22     contract between Expedia and Marriott states that Expedia “determine[d] the sorting and
23     display of hotels” on its websites in its “sole discretion.” See Dkt. 153, Ex. 16 at
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                 While it is not clear whether Plaintiffs are also attempting to allege that Marriott is vicariously
       liable for the OTAs’ advertisements under their state law fraud claims, the Court notes that Marriott
27     similarly cannot be liable for the torts of a third party without some evidence of control or participation.
       See, e.g., Blum, George L. et. al., 57B Am. Jur. 2d Negligence § 1018 (“Underlying the doctrine [of
28     vicarious liability] is the notion of authority or control over the alleged wrongdoer”).
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1      MAR01807. 9 Because there is no evidence that Marriott had any control over how resort
2      fees were displayed on OTA websites, the Court grants summary judgment to Marriott
3      with respect to Plaintiffs’ OTA claims.
4      D. Marriott’s Class Action Waiver Defense
5             The Court now turns to Plaintiffs’ request for summary judgment on certain of
6      Marriott’s affirmative defenses. 10 Plaintiffs argue that Marriott’s affirmative defense of
7      class action waiver fails because Marriott has no evidence that Lead Plaintiffs agreed not
8      to bring a class action. They further argue that Marriott has waived this defense against all
9      putative class members by failing to pursue it prior to class certification. See Pltfs. Partial
10     MSJ at 30; see also Dkt. 173 (“Pltfs. Supp. Br.”) at 6–11.11 The Court will address each
11     of these arguments in turn.
12            The Court agrees with Plaintiffs that Marriott has failed to create a triable issue on
13     whether Lead Plaintiffs agreed to Marriott’s class action waiver. See Celotex, 477 U.S. at
14     322–23 (noting summary judgment is appropriate where the nonmoving party fails to
15     produce any proof concerning an essential element on which it bears the burden of proof
16     at trial); see also Clark v. Capital Credit & Collection Servs., 460 F.3d 1162, 1177 (9th
17     Cir. 2006) (noting defendant bears the burden of proof at summary judgment with respect
18     to an affirmative defense). At trial, to prove its affirmative defense of class action waiver,
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21                The Court also notes that in addition to the lack of evidence regarding Marriott’s alleged vicarious
       liability, there is also no evidence in the record of what appeared on the OTA websites because Plaintiffs
22     did not submit any evidence of the OTA websites or advertisements on summary judgment.
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                   In their motion for summary judgment, Plaintiffs argue that 14 of Marriott’s affirmative defenses
23     either fail as a matter of law or for lack of evidence. Aside from its class action waiver defense, Marriott
       does not contest the Court striking these affirmative defenses. See Dkt. 155 (“Marriott’s Opp. to Pltfs.
24     Partial MSJ”) at 28. Accordingly, pursuant to the agreement of the parties and because there are no
25     genuine disputes of material fact, the Court grants summary judgment to Plaintiffs on Marriott’s following
       affirmative defenses as identified in the operative answer: affirmative defenses 1–2, 9, 11–12, 18, 22–23,
26     25, 27, 29–30, and 36. See Dkt. 92.
                11
                   After determining that the parties had not sufficiently aided the Court in briefing these arguments
27     and anticipating that a class action waiver could impact class certification, the Court ordered supplemental
       briefing on the issue. See Dkt. 168.
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1      Marriott would bear the burden to establish that Lead Plaintiffs both (1) had notice of
2      Marriott’s terms and conditions, which included a class action waiver; and (2) agreed to
3      those terms and conditions. Windsor Mills, Inc. v. Collins & Aikman Corp., 25 Cal. App.
4      3d 987, 992 (1972) (under California law, parties form valid contracts by mutual assent);
5      In re Holl, 925 F.3d 1076, 1083 (9th Cir. 2019) (mutual assent requires notice of terms and
6      conditions and assent to them). Despite the fact that it bears the burden on this issue,
7      Marriott points to no evidence in the record that Lead Plaintiffs had notice of Marriott’s
8      terms and conditions and assented to them, such that they could be bound by their terms.
9      See Marriott’s Supp. Br. at 3; Pltfs. Supp. Br. at 1–3. Even the terms and conditions that
10     Lead Plaintiffs purportedly agreed to is absent from the record. See id. Given the total
11     absence of evidence in this regard, the Court grants summary judgment on Marriott’s class
12     action waiver defense against Lead Plaintiffs.
13            On the other hand, the Court finds that Marriott has sufficiently preserved and
14     maintained its right to assert a class action waiver defense against the proposed class
15     members. 12 Generally, “[t]he inclusion of [a] defense in an answer is sufficient to preserve
16     [a] defense.” Tahoe-Sierra Pres. Council, Inc. v. Tahoe Reg’l Plan. Agency, 216 F.3d
17     764, 788 (9th Cir. 2000) (overruled on other grounds by Gonzalez v. Arizona, 677 F.3d
18     383 (9th Cir. 2012)). Additionally, while a party can waive a defense, it generally does
19     not do so by failing to act with regard to putative, unnamed class members prior to class
20     certification. See Diamond v. Allstate Ins. Co., 91 F.3d 151 (9th Cir. 1996); see also
21     Standard Fire Ins. Co. v. Knowles, 568 U.S. 588, 593 (2013) (“‘[A] nonnamed class
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25                “A waived ... defense is one that a party has knowingly and intelligently relinquished; a forfeited
       [defense] is one that a party has merely failed to preserve.” Wood v. Milyard, 566 U.S. 463, 470 n.4 (2012)
26     (internal citations omitted). Because the Court ultimately finds that Marriott neither waived nor forfeited
       its affirmative defense of class action waiver, the nomenclature is largely irrelevant here, and the Court
27     uses the terms interchangeably. See In re Cellular 101, Inc., 539 F.3d 1150, 1155 n.2 (9th Cir. 2008).
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1      member is [not] a party to the class-action litigation before the class is certified’”) (citation
2      omitted) (emphasis in original); Moser v. Benefytt, Inc., 8 F.4th 872, 878 (9th Cir. 2021)
3      (finding that defendant did not waive jurisdictional affirmative defense against absent
4      class members by not moving to dismiss “putative class members who were not then
5      before the court”).
6            Here, Marriott preserved its affirmative defense of class action waiver by including
7      it in its answer. See Dkt. 92 at 26. In fact, Marriott has asserted its class action waiver
8      defense in each of its answers to the amended complaints, including in the operative
9      answer. See Dkts. 32, 59, 92. Nor has Marriott waived its affirmative defense. Plaintiffs
10     argue that Marriott has acted inconsistently with its alleged intent to pursue the affirmative
11     defense of class action waiver because it has not brought a motion against absent class
12     members, but the Court disagrees. Until a class has been certified, absent class members
13     are not parties to this action; thus, Marriott could not have brought a motion as to them. Its
14     failure to bring a motion arguing that absent class members were bound by a class action
15     waiver provision does not constitute a waiver of Marriott’s affirmative defense. This is
16     especially the case when, as here, Marriott repeatedly asserted the affirmative defense in
17     its answers consistent with its intention to pursue the defense. Accordingly, the Court finds
18     that Marriott did not waive its class action waiver defense against absent class members.
19     E. Marriott Has Failed to Show a Lack of Reliance
20           Below, the Court briefly addresses Marriott’s remaining argument that it is entitled
21     to summary judgment on Plaintiffs’ CLRA, intentional misrepresentation, and
22     concealment claims because neither of the two Lead Plaintiffs can show reliance. See
23     Marriott’s MSJ at 10–12.
24           Plaintiffs’ remaining claims under the CLRA and for concealment and intentional
25     misrepresentation all require reliance. See Gray v. Dignity Health, 70 Cal. App. 5th 225,
26     243 (2021); Engalla v. Permanente Med. Grp., Inc., 15 Cal. 4th 951, 974 (1997). To show
27     reliance, a plaintiff must demonstrate that the misrepresentation or omission was an
28     “immediate cause of the injury-causing conduct[.]” In re Tobacco II Cases, 46 Cal. 4th

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1      298, 328 (2009). A plaintiff can do so by showing that the misrepresentation or omission
2      “played a substantial part . . . in influencing his decision,” or by showing that the
3      misrepresentation or omission was material. See OCM Principal Opportunities Fund, L.P.
4      v. CIBC World Markets Corp., 157 Cal. App. 4th 835, 864 (2007). Under California law,
5      a plaintiff need not show that “[the challenged] misrepresentations were the sole or even
6      the decisive cause of the injury-producing conduct.” Kwikset Corp. v. Superior Court, 51
7      Cal. 4th 310, 327 (2011) (internal quotations and citations omitted); see also Daniel v. Ford
8      Motor Co., 806 F.3d 1217, 1225 (9th Cir. 2015) (if representation is material, reliance “can
9      be presumed, or at least inferred”). With respect to omissions, reliance is satisfied if the
10     plaintiff demonstrates that “had the omitted information been disclosed [the plaintiff]
11     would have been aware of it and behaved differently.” Mirkin v. Wasserman, 5 Cal. 4th
12     1082, 1093 (1993). Whether a party relied on a misrepresentation or whether that reliance
13     was justified are almost always questions of fact that are not suitable for resolution as a
14     matter of law on summary judgment. See, e.g., Alliance Mortgage Co. v. Rothwell, 10 Cal.
15     4th 1226, 1239 (1995); see also Blankenheim v. E.F. Hutton & Co., Inc., 217 Cal. App. 3d
16     1463, 1475 (1990) (“Except in the rare case where the undisputed facts leave no room for
17     a reasonable difference of opinion, the question of whether a plaintiff’s reliance is
18     reasonable is a question of fact.”).
19           Despite Marriott’s arguments, Lead Plaintiffs sufficiently created a triable issue on
20     reliance by testifying that resort fee information was significant to their decision making.
21     Marriott points to Lead Plaintiffs’ testimony that they based their decisions to purchase
22     Marriott hotel rooms on factors unrelated to resort fees. See Marriott’s MSJ at 11–12;
23     Abdelsayed Dep. Tr. at 80:12–14; 82:11–15 (testifying that, to him, the most important
24     feature of a hotel room was price and that he did not look at what was in the “summary of
25     charges” as long as the total price was within his budget); Hall Dep. Tr. at 95:15–96:12
26     (testifying that he “most likely” would not have booked Marriott’s hotel room had he seen
27     resort fees). From these statements, Marriott argues that Lead Plaintiffs’ lack of reliance
28     is undisputed. Although this testimony may demonstrate that resort fees were not “the sole

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1      or even the decisive cause” of Plaintiffs’ decisions to book their hotel rooms, it does not
2      establish that resort fees were not a “substantial part” in Plaintiffs’ decision making. See
3      Kwikset, 51 Cal. 4th at 326–27; CIBC World Markets Corp., 157 Cal. App. 4th at 864.
4      Plaintiff Hall testified that had he seen the resort fee disclosures, he “most likely” would
5      not have booked Marriott’s hotel room, and Plaintiff Abdelsayed submitted a declaration
6      stating that he relied on Marriott’s “buried resort fees,” and testified that “[y]ou shouldn’t
7      have to have a drop-down menu to see [the resort fee]” and that he wanted to be informed
8      of the resort fee. See Hall Dep. Tr. at 95:15–96:12; Dkt. 144, Abdelsayed Decl. ¶¶ 7–8;
9      Dkt. 144, Ex. B at 218:24-219:21, 261:5-9. Plaintiffs’ testimony that resort fees mattered
10     to them and that they would have behaved differently with clearer disclosures creates a
11     triable issue that resort fees played a “substantial part” in their purchasing decisions. See
12     Alliance Mortgage, 10 Cal. 4th at 1239; see also Mirkin, 5 Cal. 4th at 1093. With the above
13     testimony, Plaintiffs have created a genuine factual dispute on reliance that cannot be
14     decided as a matter of law on summary judgment for either side. The Court therefore
15     denies both parties’ motions for summary judgment on the CLRA claim, as well as
16     Marriott’s motion for summary judgment on the intentional misrepresentation and
17     concealment claims.
18                                     V. CLASS CERTIFICATION
19           Next, the Court turns to Plaintiffs’ motion for class certification. Because the Court
20     has dismissed or granted summary judgment on Plaintiffs’ UCL, FAL, unjust enrichment,
21     and negligent misrepresentation claims, it only considers whether the proposed class
22     should be certified with respect to Plaintiffs’ surviving CLRA, intentional
23     misrepresentation, and concealment claims. Here, Plaintiffs have requested that the Court
24     certify a nationwide class based on California state law, and thus, the Court first examines
25     whether such a broad application of state law passes constitutional muster. It will then turn
26     to whether Plaintiffs have met the Rule 23 class certification requirements for the proposed
27     California class. See generally TAC; Dkt 20 (“Pltfs. Opp. to MTD”) at 20–21 (arguing
28     that California law applies).

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1      A. Legal Standard on Class Certification
2            To certify a class, the plaintiffs bear the burden of proving by a preponderance of
3      the evidence that the class meets all four requirements of Federal Rule of Civil Procedure
4      23(a). Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338, 350–51 (2011); Zinser v. Accufix
5      Research Inst., Inc., 253 F.3d 1180, 1186 (9th Cir. 2001); Olean Wholesale Grocery Coop.,
6      Inc. v. Bumble Bee Foods LLC, 31 F.4th 651, 663 (9th Cir. 2022). Rule 23(a) sets out four
7      prerequisites for a certifiable class: (1) numerosity, (2) commonality, (3) typicality, and (4)
8      adequacy. Ellis v. Costco Wholesale Corp., 657 F.3d 970, 979–80 (9th Cir. 2011). If the
9      proposed class meets the four prerequisites of Rule 23(a), the Court must then decide
10     whether the class action is maintainable under Rule 23(b). Under Rule 23(b)(3), a class
11     may be certified if the Court finds that “the questions of law or fact common to class
12     members predominate over any questions affecting only individual members, and that a
13     class action is superior to other available methods for fairly and efficiently adjudicating the
14     controversy.” Vinole v. Countrywide Home Loans, Inc., 571 F.3d 935, 944 (9th Cir. 2009)
15     (quoting Fed. R. Civ. P. 23(b)(3)).
16           At the class certification stage, the Court must take the substantive allegations of the
17     complaint as true, but it “also is required to consider the nature and range of proof necessary
18     to establish those allegations.” In re Coordinated Pretrial Proceedings in Petroleum
19     Prods. Antitrust Litig., 691 F.2d 1335, 1342 (9th Cir. 1982). The Court must engage in a
20     “rigorous analysis” of each Rule 23(a) factor, which often “will entail some overlap with
21     the merits of the plaintiff’s underlying claim.” Dukes, 564 U.S. at 351. If the Court
22     concludes that the moving party has carried its Rule 23 burden, then the court is afforded
23     “broad discretion” to certify the class. Zinser, 253 F.3d at 1186.
24     B. Plaintiffs Have Not Met Their Burden to Show That the Nationwide Class Can be
25     Certified
26           In this action, Plaintiffs seek to certify a nationwide class for relief under California
27     intentional misrepresentation and concealment claims. The Court must, therefore, consider
28     the threshold issue of whether Plaintiffs have met their burden to show that nationwide

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1      application of those California state laws is constitutional. See, e.g., Phillips Petroleum
2      Co. v. Shutts, 472 U.S. 797, 821–22 (1985); see also generally TAC; Dkt. 20 (“Pltfs. Opp.
3      to MTD”) at 20–21 (arguing that California law applies to Nationwide Class).
4            Plaintiffs bear the initial burden to show that California law can be constitutionally
5      applied nationwide. See Mazza v. Am. Honda Motor Co., Inc., 666 F.3d 581, 589–90 (9th
6      Cir. 2012) (overruled on other grounds) (citing Wash. Mut. Bank v. Superior Court, 24 Cal.
7      4th 906, 921 (Cal. 2001)). Plaintiffs can meet this burden by demonstrating that “California
8      has ‘significant contact or significant aggregation of contacts’ to the claims of each class
9      member.” See id. (emphasis added); see also Shutts, 472 U.S. at 821–22. In analyzing
10     whether California has sufficient contacts with each class member, courts have looked to
11     factors such as the location of the defendant’s headquarters, the wrongful conduct, and the
12     injury. See, e.g., Pecover v. Elec. Arts Inc., 2010 WL 8742757, at *17 (N.D. Cal. Dec. 21,
13     2010) (describing relevant factors and collecting cases); Chavez v. Blue Sky Nat. Beverage
14     Co., 268 F.R.D. 365, 379 (N.D. Cal. 2010) (finding sufficient contacts where defendants
15     were headquartered in California and their “misconduct allegedly originated in
16     California”). Without such contacts, application of California law would be unfair and
17     arbitrary—and therefore, unconstitutional. Mazza, 666 F.3d at 590; see also Shutts, 472
18     U.S. at 821–22.
19           Here, Plaintiffs’ request for nationwide certification does not even address the
20     constitutionality of applying California law to out-of-state class members, much less
21     attempt to meet their burden on this issue. See generally Class Cert. Even if Plaintiffs had
22     attempted to demonstrate sufficient contacts between the state of California and each class
23     member, it is not clear that they could have done so. Here, the factors that courts generally
24     consider––including the location of the defendant, the wrongful conduct, and the injury––
25     do not suggest any connection between California and the claims of out-of-state class
26     members: (1) Marriott is headquartered in Delaware, not California; (2) Marriott operates
27     hotels all over the country; (3) Plaintiffs do not allege that Marriott originated the allegedly
28     deceptive advertising in California; and (4) class members booked their hotel rooms—and

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1      thereby suffered injury—in their respective states. See TAC ¶¶ 6, 11; see also Pltfs. Ex.
2      10 at Schedules 1–2. Because there is no evidence before the Court to demonstrate that
3      nationwide application of California common law is constitutional, Plaintiffs have not met
4      their threshold burden. The Court therefore denies Plaintiffs’ motion to certify the
5      nationwide class, leaving only the proposed California class for the Court’s consideration.
6      C. Plaintiffs Have Satisfied Rule 23(a) With Respect to the California Class
7            The Court next turns to whether class certification of Plaintiffs’ proposed California
8      class is appropriate under Rule 23. The Court first considers whether Plaintiffs have met
9      their burden with regard to the numerosity, typicality, adequacy, and commonality
10     requirements of Rule 23(a).
11           1. The California Class is Sufficiently Numerous
12           First, the Court finds that the proposed California Class is sufficiently numerous. To
13     establish numerosity, a plaintiff must show that the represented class is “so numerous that
14     joinder of all members is impracticable.”         Fed. R. Civ. P. 23(a)(1).   Although the
15     numerosity requirement is not tied to a strict numerical threshold, trial courts have
16     generally found that classes of at least 40 members satisfy the requirement. Rannis v.
17     Recchia, 380 Fed. Appx. 646, 651 (9th Cir. 2010); see also West v. Cal. Servs. Bureau,
18     Inc., 323 F.R.D. 295, 303 (N.D. Cal. 2017) (class of more than 40 “raises a presumption of
19     impracticability of joinder” and “[i]n analyzing numerosity a court may make common-
20     sense assumptions and reasonable inferences.”) (citations and quotations omitted). Here,
21     Plaintiffs point to the report of their proposed damages expert opining that the total amount
22     of resort fees paid by the California Class over the class period exceeds $37 million. See
23     Class Cert. at 12; Pltfs. Ex. 10 ¶¶ 9–10, Schedules 1–2. Plaintiffs argue that these amounts
24     allow the Court to infer numerosity. See id. Marriott does not challenge numerosity in its
25     opposition to class certification, and notes in its supplemental briefing that approximately
26     2 million consumers constitute “at least 26.92% of the total [nationwide] class,” suggesting
27     that the proposed nationwide class likely exceeds six million consumers. See Marriott’s
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1      Supp. Br. at 4. Even if only 1% of these consumers fall within the California Class, 13 the
2      California Class would still include thousands of consumers, making joinder impracticable.
3      Plaintiffs have therefore satisfied the numerosity requirement.
4             2. Lead Plaintiffs are Typical and Adequate Representatives of a Modified Class
5             Next, the Court considers whether Lead Plaintiffs are typical and adequate
6      representatives of the putative class.             Here, Marriott identifies two impediments to
7      typicality and adequacy. First, Marriott argues that Lead Plaintiffs are neither typical nor
8      adequate representatives because a significant portion of the class will be subject to
9      Marriott’s affirmative defense of class action waiver and Lead Plaintiffs will not. Second,
10     Marriott argues that proposed class counsel are inadequate representatives because they
11     may also be class members who have a personal stake in the outcome of the case. The
12     Court will examine each of these arguments in turn.
13            While typicality and adequacy are two separate inquiries, their analysis can overlap
14     in certain cases. See Woods v. Vector Mktg. Corp., 2015 WL 5188682, at *12 (N.D. Cal.
15     Sept. 4, 2015) (“the typicality and adequacy inquiries tend to significantly overlap”). To
16     determine typicality, the Court considers whether “the claims or defenses of the
17     representative parties are typical of the claims or defenses of the class.” Fed. R. Civ. P.
18     23(a)(3). The Court considers “whether the action is based on conduct which is not unique
19     to the named plaintiffs, and whether other class members have been injured by the same
20     course of conduct.” Evon v. Law Offices of Sidney Mickell, 688 F.3d 1015, 1030 (9th Cir.
21     2012) (internal citation omitted). To determine adequacy, the Court considers whether “the
22     representative parties will fairly and adequately protect the interests of the class.” Fed. R.
23     Civ. P. 23(a)(4). The Court focuses on two questions: (1) whether “the representative
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25            13
                  In 2020, California comprised approximately 12% of the United States population. See United
26     States Department of Commerce, Bureau of the Census, State Population Totals and Components of
       Change:2020–2022, https://www.census.gov/data/tables/time-series/demo/popest/2020s-state-total.html;
27     see also See Fed. R. Evid. 201(b); Lee v. City of Los Angeles, 250 F.3d 668, 689 (9th Cir. 2001) (holding
       that a court may take judicial notice of “matters of public record” that are not subject to reasonable dispute)
28     (internal quotation marks omitted).
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1      plaintiffs and their counsel have any conflicts of interest with other class members,” and
2      (2) whether “the representative plaintiffs and their counsel prosecute the action vigorously
3      on behalf of the class.” Staton v. Boeing Co., 327 F.3d 938, 957 (9th Cir. 2003).
4            First, the Court addresses the concern that the two Lead Plaintiffs, who did not agree
5      to Marriott’s class action waiver and thus are not subject to the class action waiver defense,
6      are neither typical nor adequate representatives for class members that may be subject to
7      this defense. See, e.g., Avilez v. Pinkerton Gov’t Servs., Inc., 596 Fed. Appx. 579 (9th Cir.
8      2015) (lead plaintiff that did not sign class action waiver was not typical or adequate
9      representative of class members who had signed class action waivers); Tan v. Grubhub,
10     Inc., 2016 WL 4721439, at *3 (N.D. Cal. July 19, 2016) (plaintiff who opted out of a class
11     action waiver lacked adequacy and typicality because he “would be unable to credibly
12     make several procedural unconscionability arguments on behalf of unnamed class
13     members[.]”). As discussed above, while Marriott does not have a class action waiver
14     defense against Lead Plaintiffs, see supra Section IV.D, Marriott may pursue this
15     affirmative defense at trial against class members that enrolled in Marriott’s rewards
16     program after April 24, 2015. See id. Marriott estimates that more than 2 million class
17     members, constituting approximately 27% or more of the putative class, will be subject to
18     its class action waiver defense at trial. See Marriott’s Supp. Br. at 4. Although the class
19     has been narrowed to the state of California, this evidence nonetheless suggests that the
20     affirmative defense may apply to a substantial number of the proposed California class
21     members. In opposing a class action waiver defense, these class members would have
22     potential arguments regarding notice, assent, and enforceability. Lead Plaintiffs would not
23     have these arguments at their disposal and would not be able to argue them on behalf of
24     the class. Because Lead Plaintiffs are not subject to the potentially dispositive affirmative
25     defense of class action waiver, they lack typicality with respect to the portion of the class
26     that will be subject to the defense. This similarly renders Lead Plaintiffs inadequate
27     because they have no legal interest in the validity or enforceability of the class action
28     waiver, creating a conflict of interest between Lead Plaintiffs and the class. Accordingly,

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1      the Court finds that Lead Plaintiffs are not adequate or typical representatives of absent
2      class members that are subject to Marriott’s affirmative defense of class action waiver.
3              While the lack of typicality and adequacy discussed above precludes certifying the
4      class as proposed, the Court can obviate these concerns by modifying the class definition.
5      See Pltfs. Supp. Br. at 13–14; see also Wang v. Chinese Daily News, Inc., 737 F.3d 538,
6      546 (9th Cir. 2013) (noting district court’s “broad authority” to redefine the class); Avilez,
7      596 Fed. Appx. 579 (noting that if class members who signed class action waivers were
8      excluded from the class, then Rule 23(a) would be satisfied). Plaintiffs propose to remove
9      class members who “enrolled in Marriott’s Bonvoy program on or after April 24, 2015.”
10     See Dkt. 176 at 4. The Court agrees that excluding these class members resolves the
11     typicality and adequacy concerns described above.                    Under this narrowed definition,
12     Defendants will not need to raise the class action waiver defense at trial. As a result, class
13     members will not be subject to a defense that Lead Plaintiffs cannot vigorously oppose on
14     their behalf. See Avilez, 596 Fed. Appx. 579. Accordingly, the Court will exercise its
15     discretion to modify the class definition to exclude consumers who enrolled in Marriott’s
16     rewards program on or after April 24, 2015.
17            Second, the Court addresses Marriott’s concern that proposed class counsel cannot
18     adequately represent the class because they may be class members. Marriott notes that two
19     of Plaintiffs’ attorneys paid resort fees while staying at Marriott properties. Marriott argues
20     that an “obvious conflict of interest” exists when an attorney is also a class member and
21     therefore, has a personal stake in the outcome of a litigation. See Class Cert. Opp. at 28. 14
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24            14
                  The Court notes that the two cases cited by Marriott in support of its argument are inapposite.
25     See Class Cert. Opp. at 28; see also In re California Micro Devices Sec. Litig., 168 F.R.D 257, 262 (N.D.
       Cal. 1996); Zylstra v Safeway Stores, Inc., 578 F.2d 102, 104 (5th Cir. 1978). In In re California Micro
26     Devices, the attorney was proceeding as both class counsel and Lead Plaintiff. See 168 F.R.D at 262. In
       Zylstra, class counsel and Lead Plaintiff were spouses. See 578 F.2d at 104. Proposed class counsel here
27     are not proposing to represent the class as plaintiffs and are not related to Lead Plaintiffs, and thus do not
       possess any of the dire conflicts discussed in those cases.
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1      Given that the class likely encompasses hundreds of thousands of consumers, this
2      possibility is unsurprising, and any such impediment is easily avoidable. To resolve any
3      potential conflict this might pose, the Court exercises its broad discretion to modify the
4      class definition to explicitly exclude the attorneys in this action. See Wang, 737 F.3d at
5      546 (noting district court’s “broad authority” to redefine the class); see also Nat’l Veterans
6      Legal Servs. Program v. United States, 235 F. Supp. 3d 32, 39 (D.D.C. 2017) (defining
7      class to exclude “class counsel in this case”); Hawkins v. S2Verify, 2016 WL 3999458, at
8      *7 (N.D. Cal. July 26, 2016) (excluding “attorneys appearing in this case”).
9            In light of the above modifications, no remaining concerns undermine Lead
10     Plaintiffs’ ability to serve as adequate and typical representatives of the modified putative
11     class. Here, Lead Plaintiffs and the purported class allege the same losses caused by the
12     same inadequate resort fee disclosures. See, e.g., Class Cert. at 15–16. Now that class
13     members subject to Marriott’s class action waiver defense have been excluded, Lead
14     Plaintiffs’ claims and arguments are coextensive with the class members. In addition, aside
15     from the issue resolved above, proposed class counsel does not appear to have any conflicts
16     that would disrupt their ability to represent the California class. See Class Cert. at 16–17.
17     Marriott does not argue otherwise. See Class Cert. Opp. at 28. Lead Plaintiffs, through
18     their counsel, have vigorously prosecuted this action to date, including by sitting for
19     depositions, defending against multiple dispositive motions, and seeking to certify the
20     class. See Class Cert. at 16. Accordingly, the Court finds that Lead Plaintiffs and proposed
21     class counsel are adequate, and that Lead Plaintiffs’ claims are typical of the class as
22     modified by the Court.
23           3. Commonality is Satisfied
24           Finally, the Court considers whether common questions of law and fact exist with
25     respect to the class. A question of law or fact is common to the class if “the determination
26     of its truth or falsity will resolve an issue that is central to the validity of each one of the
27     claims in one stroke.” Dukes, 564 U.S. at 350. Thus, what matters is not the “raising of
28     common ‘questions’ . . . but rather, the capacity of a class-wide proceeding to generate

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1      common answers apt to drive the resolution of the litigation.” Id. at 350 (citation omitted)
2      (emphasis in original).
3            Here, the key elements of Plaintiffs’ CLRA claim are susceptible to common,
4      classwide proof that will allow the validity of the class’s claims to be resolved in one stroke.
5      To succeed on their CLRA claim, Plaintiffs must show that Marriott’s resort fee disclosures
6      were deceptive, and that such deception would be material to the reasonable consumer.
7      See, e.g., Yastrab, 173 F. Supp. 3d at 977. Under the CLRA, the primary evidence of
8      “likelihood of deception” is the advertising itself. See Colgan v. Leatherman Tool Grp.,
9      Inc., 135 Cal. App. 4th 663, 682 (2006). Moreover, deceptiveness and materiality are
10     judged by the advertisement’s effect on a “reasonable consumer,” meaning that a jury will
11     determine whether the advertising would be deceptive and material to an “ordinary
12     consumer acting reasonably under the circumstances.” See id.; Consumer Advocates v.
13     Echostar Satellite Corp., 113 Cal. App. 4th 1351, 1360 (2003). In addition, if materiality
14     is established, the CLRA allows for a classwide presumption of reliance. Consumer
15     Advocates, 113 Cal. App. 4th at 1360; Tobacco II, 46 Cal. 4th at 327; see also Kaldenbach
16     v. Mut. of Omaha Life Ins. Co., 178 Cal. App. 4th 830, 851 (2009) (noting that fraud and
17     concealment claims allow for a classwide inference of reliance if there are material,
18     uniform misrepresentations).
19           Whether Marriott’s booking process was likely to deceive under the CLRA is a
20     common legal question that can be resolved on a classwide basis. To show that Marriott’s
21     booking flow was deceptive, Plaintiffs point to Marriott’s universal booking flow––to
22     which all class members were exposed, regardless of where they lived or what hotel they
23     booked––and expert survey evidence showing that approximately half of consumers did
24     not notice Marriott’s resort fee disclosures. See Dkt. 18-2 (“Marriott’s RJN”), Exs. B–F;
25     SUMF at 2–16; Marriott’s Ex. F; Pltfs. Ex. 11.            Here, the “primary evidence” of
26     deceptiveness is this universal, internet booking process that every class member used. The
27     factfinder will decide, based on this evidence and the expert survey evidence offered by
28     Plaintiffs, whether Marriott’s resort fee disclosures were likely to deceive one person––the

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1      hypothetical reasonable consumer. Therefore, common evidence will answer the common
2      question of deceptiveness and no individual determinations will be required.
3             The factfinder can also determine whether the alleged deception was material to the
4      reasonable consumer on a classwide basis. As classwide evidence that resort fees are a
5      substantial part of a reasonable consumer’s purchase decision, Plaintiffs primarily point to
6      Marriott’s internal documents where company executives acknowledged that consumers
7      did not like resort fees. See Pltfs. Exs. 12, 14, 15 (“Alexander Dep. Tr.”) at 25:10–6;
8      117:17–118:4, 18. 15 Marriott argues that this evidence is insufficient to demonstrate
9      materiality, but this argument goes to the merits rather than to commonality. See Olean,
10     31 F.4th at 666–67 (“a district court is limited to resolving whether the evidence establishes
11     that a common question is capable of class-wide resolution, not whether the evidence in
12     fact establishes that plaintiffs would win at trial”). Regardless of the relative strength or
13     weakness of this evidence, Plaintiffs have pointed to a common set of documents that will
14     either succeed or fail to establish materiality on a classwide basis. If Plaintiffs can establish
15     classwide materiality using the common evidence described above, it follows that
16     classwide reliance can also be resolved in one stroke under the presumption allowed by
17     California law. See Tobacco II, 46 Cal. 4th at 327; see also Kaldenbach, 178 Cal. App.
18     4th at 851 (noting classwide reliance presumption for fraud and concealment claims).
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                 In their briefing, Plaintiffs also point to their expert survey as evidence capable of demonstrating
       classwide materiality, but that survey does not contain any conclusions regarding materiality. See Class
23     Cert. Reply at 4–5; Pltfs. Ex. 11. Plaintiffs’ expert, Dr. Michael Dennis, conducted a consumer survey to
       determine whether Marriott “misleads consumers into misunderstanding . . . the cost components of the
24     daily room rate.” See Pltfs. Ex. 11 (“Dennis Report”) at ¶ 25. In the survey, consumers were split into
25     two groups: one group that viewed a booking process like Marriott’s, and another that viewed a booking
       process that disclosed the resort fee on the first page of the booking process. See id. ¶¶ 56–63. Both
26     groups were asked questions regarding whether they understood what components comprised the total
       price. See id. ¶¶ 56–63, 68. The survey, however, did not pose any questions regarding what consumers
27     found important to their booking decisions and did not otherwise assess how the presence of a resort fee
       impacted those decisions. See generally id. Thus, Plaintiffs’ consumer survey is common evidence
28     relevant to the element of deception, but there is nothing to indicate that it is relevant to materiality.
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1      Alternatively, if Plaintiffs are unable to establish classwide materiality using their common
2      evidence, no reliance inquiry will be necessary.
3            Lastly, whether Marriott intentionally concealed resort fees in its booking flow can
4      be determined in one stroke with evidence common to the entire class. Intent is a required
5      element of Plaintiffs’ intentional misrepresentation and concealment claims. See Lazar v.
6      Superior Court, 12 Cal. 4th 631, 638 (1996) (intentional misrepresentation requires
7      knowledge of falsity and intent to defraud or induce reliance); see also Burch v.
8      CertainTeed Corp., 34 Cal. App. 5th 341, 348 (2019) (fraudulent concealment requires
9      proof that “defendant intentionally concealed or suppressed the fact with the intent to
10     defraud”). Courts routinely conclude that scienter is a common question subject to
11     common proof. See, e.g., Zakaria v. Gerber Prod. Co., 2016 WL 6662723, at *13 (C.D.
12     Cal. Mar. 23, 2016) (noting that scienter element of intentional misrepresentation claim is
13     “susceptible to common proof” because it “refer[s] only to Defendant’s conduct”); see also
14     Allen v. Verizon California, Inc., 2010 WL 11583099, at *8 (C.D. Cal. Aug. 12, 2010).
15     Here, the sole, classwide question is whether Marriott intended to deceive consumers when
16     it presented resort fee information. To answer this question, Plaintiffs point to Marriott’s
17     internal documents, including, (1) an email stating that resort fees were “all about nickel
18     and diming the guest and being unable to hand the disclosure requirements”; (2) an email
19     noting that consumers “didn’t notice” the resort fee disclosures; and (3) an internal
20     presentation noting that clearer resort fee disclosures might have a negative impact on
21     revenue. See Pltfs. Exs. 12–14, 18. The factfinder will thus decide the intent element by
22     evaluating common evidence of Marriott’s conduct. For the reasons described above,
23     common questions susceptible to common proof abound under Plaintiffs’ CLRA and
24     common law fraud claims. Therefore, Plaintiffs have met their burden with regard to
25     commonality.
26     D. Plaintiffs Have Not Met Rule 23(b)’s Predominance Requirement
27           Having concluded that Plaintiffs have met Rule 23(a) requirements, the Court turns
28     to whether common questions will predominate over individual ones under Rule 23(b)(3).

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1      The Rule 23(b)(3) inquiry looks to whether the putative class is “sufficiently cohesive to
2      warrant adjudication by representation.” Fed. R. Civ. P. 23(b)(3); Amchem Products, Inc.
3      v. Windsor, 521 U.S. 591, 623 (1997). Where “one or more of the central issues in the
4      action are common to the class and can be said to predominate, the action may be
5      considered proper under Rule 23(b)(3) even though other important matters will have to be
6      tried separately, such as damages or some affirmative defenses peculiar to some individual
7      class members.” Tyson Foods, Inc. v. Bouaphakeo, 577 U.S 442, 453–54 (2016) (citing C.
8      Wright, A. Miller, & M. Kane, Federal Practice and Procedure § 1778, pp. 123–124 (3d
9      ed. 2005)).      Plaintiffs bear the burden to demonstrate that common questions will
10     predominate over individual ones under Rule 23(b)(3) by a preponderance of the evidence
11     before the Court may certify a class. Olean, 31 F.4th at 665 (adopting preponderance
12     burden of proof). In analyzing the predominance factor, courts consider whether Plaintiffs
13     have demonstrated that “the same evidence will suffice for each member to make a prima
14     facie showing or the issue is susceptible to generalized, class-wide proof,” or if “members
15     of a proposed class will need to present evidence that varies from member to member.”
16     Tyson Foods, Inc., 577 U.S. at 453.
17            Having determined that several key elements of Plaintiffs’ claims—deceptiveness,
18     materiality, reliance, and intent—can be resolved on a classwide basis, the Court turns to
19     the remaining element of damages. Marriott argues that infirmities in Plaintiffs’ classwide
20     damages methodology defeats the predominance requirement and precludes class
21     certification.    First, Marriott argues that Plaintiffs’ proposed class definition is
22     impermissibly broad and includes uninjured class members. Second, it argues that the
23     proposed damages model is incapable of calculating classwide damages such that
24     individualized inquiries of harm will overwhelm the litigation. The Court will examine
25     each of these arguments in turn.
26            The Court first considers whether the class definition encompasses a potentially
27     significant number of unharmed consumers and, if so, whether parsing out the injured class
28     members from the uninjured would require an overwhelming number of individualized

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1      inquiries. See Ruiz Torres v. Mercer Canyons Inc., 835 F.3d 1125, 1136–39 (9th Cir. 2016)
2      (addressing claim that class definition was overbroad and contained uninjured members as
3      a Rule 23(b)(3) predominance issue). “[A] court must consider whether the possible
4      presence of uninjured class members means that the class definition is fatally overbroad.”
5      Olean, 31 F. 4th at 669 n.14. When “a class is defined so broadly as to include a great
6      number of members who for some reason could not have been harmed by the defendant’s
7      allegedly unlawful conduct, the class is defined too broadly to permit certification.” Id.
8      (citing Messner v. Northshore Univ. HealthSystem, 669 F.3d 802, 811 (7th Cir. 2012)).
9      Whether a proposed class that “potentially includes more than a de minimis number of
10     uninjured class members” can be certified under Rule 23 is a case-specific inquiry subject
11     to the district court’s rigorous predominance analysis. See id. at 669 & n.13, n.14.
12     Accordingly, the Court performs this inquiry in the specific context of this case alleging
13     inadequate disclosures in Marriott’s advertising.
14           In a case alleging inadequate disclosures, consumers who were not harmed because
15     they knew the truth prior to purchase are not appropriately included in the class. See, e.g.,
16     Mazza, 666 F.3d at 596; Berger v. Home Depot USA, Inc., 741 F.3d 1061, 1069 (9th Cir.
17     2014). This is because only those consumers who were exposed to the advertising and did
18     not read the disclosures prior to purchase were actually deceived and suffered damages.
19     See, e.g., id. Based on this reasoning, the Ninth Circuit and district courts applying Ninth
20     Circuit precedent have found class definitions fatally overbroad that fail to exclude
21     consumers who received disclosures prior to purchase. See, e.g., Mazza, 666 F.3d at 596
22     (vacating district court’s class certification order where class definition included persons
23     who had actually read Honda’s disclosures prior to purchase); Berger, 741 F.3d at 1069
24     (affirming denial of class certification where some class members were informed about the
25     “optional nature of the damages waiver” prior to purchase); Roley v. Google LLC, 2020
26     WL 8675968, at *8 (N.D. Cal. July 20, 2020) (denying certification where some class
27     members saw Google’s disclosures prior to purchase); Circle Click Media LLC v. Regus
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1      Mgmt. Grp. LLC, 2016 WL 2593654, at *4 (N.D. Cal. May 5, 2016) (same where some
2      class members were told about the disputed fees prior to purchase).
3            The evidence before the Court suggests that the class definition encompasses a
4      potentially significant number of unharmed consumers. Here, Plaintiffs admit that Marriott
5      disclosed the existence of resort fees several times during the booking process but allege
6      that these disclosures were inadequate due to font size, color, and placement. See, e.g.,
7      Class Cert. at 3–4; see also Pltfs. Partial MSJ at 5–8, 10–11. According to Plaintiffs’ own
8      allegations, this is an inadequate disclosures case where the relevant information was
9      disclosed but in a manner that Plaintiffs allege would not have been noticed by the
10     reasonable consumer. See, e.g., Class Cert. at 3–4 (describing “oblique[]” resort fee
11     disclosures at various pages in Marriott’s booking process). Under this liability theory,
12     Plaintiffs propose a class of all consumers who paid resort fees but do not distinguish
13     between those who did so knowing about the resort fees and those who were deceived and
14     harmed. See id. at 2. This definition, therefore, makes no attempt to exclude class members
15     who read Marriott’s resort fee disclosures prior to purchase. See id.
16           While the mere possibility of uninjured class members would likely not defeat
17     predominance, the evidence here suggests that approximately 50% of the class may be
18     uninjured. See Pltfs. Ex. 11 (“Dennis Report”) ¶ 68. In support of their motion for class
19     certification, Plaintiffs submitted a consumer survey that replicated Marriott’s booking
20     process and, in part, measured what percentage of consumers understood that a resort fee
21     was included in the total cost of the hotel stay. See id. ¶¶ 23, 25, 56–63. That survey
22     concluded that 53.2% of consumers understood prior to purchase that a resort fee was
23     included in the total price. See id. ¶ 68. This evidence indicates that there is a potentially
24     significant number of unharmed class members who fully understood they were paying a
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1      resort fee prior to purchase. 16 Identifying these consumers would require individualized
2      inquiries about what each class member read prior to purchase which, in a class of
3      thousands, would overwhelm the common questions identified above.
4             Plaintiffs’ proposed damages model also fails for the same reason—because it does
5      not distinguish between injured class members and uninjured class members. And without
6      a valid, classwide measure of damages, Plaintiffs cannot meet their predominance burden
7      with respect to their proposed class. In Comcast Corp. v. Behrend, the Supreme Court held
8      that a plaintiff’s damages model must be capable of showing that their damages resulted
9      from the defendant’s allegedly illegal conduct; if it cannot, common questions do not
10     predominate. Comcast Corp. v. Behrend, 569 U.S. 27, 35 (2013). Here, Plaintiffs’
11     damages expert measured damages by calculating the total amount of resort fees consumers
12     paid Marriott during the class period. See Pltfs. Ex. 10 (“Podlipna Report”) ¶¶ 9–10. But
13     as discussed above, Plaintiffs’ evidence suggests the possibility of a significant portion of
14     consumers that understood that a resort fee was included in the price when they booked
15     their hotel rooms. See Dennis Report ¶ 68. Plaintiffs’ damages expert made no attempt to
16     distinguish the consumers who were deceived by Marriott’s allegedly inadequate resort fee
17     disclosures from consumers who read the resort fee disclosures, willingly paid, and thus,
18     were not harmed. See generally Podlipna Report. A model that potentially awards
19     damages over half of the time where no harm exists is not sufficiently linked to Plaintiffs’
20     theory of liability, nor is it capable of measuring the harm Plaintiffs allege. The Court is
21     not satisfied that a damages model that awards damages to so many potentially uninjured
22     consumers is viable under Comcast.                  Accordingly, Plaintiffs fail to meet their
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25                Although the Court retains the broad discretion to redefine the class, see Wang, 737 F.3d at 546,
       it is not clear how the class could be redefined to identify only those consumers who did not notice
26     Marriott’s resort fee disclosures. The Court is aware of various plaintiffs’ unsuccessful attempts to remedy
       this type of overbreadth issue in other cases, but the Court is not aware of any decision that has attempted
27     to sua sponte redefine a class in this fashion. See, e.g., Dioquino v. Sempris, LLC, 2012 WL 6742528, at
       *5 (C.D. Cal. Apr. 9, 2012) (finding that defining class as consumers who enrolled in a service but did not
28     use it did not adequately exclude potentially unharmed class members).
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1      predominance burden for the additional reason that their damages model is insufficiently
2      linked to their theory of liability under Comcast.
3            For the reasons discussed above, the Court finds that Plaintiffs have not met their
4      burden on predominance by a preponderance of the evidence and declines to certify the
5      proposed California class. Nevertheless, because Plaintiffs alternatively request that the
6      Court certify a liability class, the Court next turns to whether it is appropriate to do so under
7      Rule 23(c)(4).
8      E. An Issues Class Under Rule 23(c)(4) is Appropriate
9            If the Court denies their request to certify their classes as proposed, Plaintiffs make
10     an alternate request to certify a class for liability issues only under Rule 23(c)(4). See Class
11     Cert. at 28–29. Rule 23(c)(4) provides that, “when appropriate, an action may be brought
12     or maintained as a class action with respect to particular issues.” Fed. R. Civ. P. 23(c)(4).
13     Accordingly, “[e]ven if the common questions do not predominate over the individual
14     questions so that class certification of the entire action is warranted, Rule 23[(c)(4)]
15     authorizes the district court in appropriate cases to isolate the common issues . . . and
16     proceed with class treatment of these particular issues.” Valentino v. Carter-Wallace, Inc.,
17     97 F.3d 1227, 1234 (9th Cir. 1996). Certification under Rule 23(c)(4) is only appropriate
18     where the issues to be certified meet all of Rule 23’s requirements of numerosity, typicality,
19     adequacy, and commonality. See, e.g., Tasion Communications, Inc. v. Ubiquiti Networks,
20     Inc., 308 F.R.D. 630, 633 (N.D. Cal. 2015). In determining whether certification of an
21     issues class is appropriate, courts should also consider “whether the adjudication of the
22     certified issues would significantly advance the resolution of the underlying case, thereby
23     achieving judicial economy and efficiency.” Valentino, 97 F.3d at 1229; see also Jimenez
24     v. Allstate Ins. Co., 765 F.3d 1161, 1164 (9th Cir. 2014) (finding certification of an issues
25     class was appropriate to “accurately and efficiently resolve the question of liability, while
26     leaving the potentially difficult issue of individualized damage assessments for a later
27     day.”). “The question of whether partial certification is appropriate under Rule 23(c)(4)(A)
28     is closely linked to the question of whether a class action is superior to other available

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1      methods for the fair and efficient adjudication of the controversy.” In re Wells Fargo Home
2      Mortg. Overtime Pay Litig., 527 F. Supp. 2d 1053, 1070 (N.D. Cal. 2007).
3            The Court finds that it is appropriate to certify a class under Rule 23(c)(4) on the
4      issue of liability. Most critically, all of the essential liability elements of Plaintiffs’ CLRA
5      and common law fraud claims can be resolved on a classwide basis using Plaintiffs’
6      common evidence. See supra Section V.C.3. Plaintiffs have also met the remainder of the
7      Rule 23(a) requirements, as outlined in the above analysis. See supra Section V.C. The
8      Court also finds that resolving the issue of liability in one centralized action would
9      significantly advance judicial economy and the resolution of this case.             Given that
10     Marriott’s resort fees range from $9 to $95, see TAC ¶ 21, the damages for each class
11     member is relatively small, providing little motivation to pursue individual cases. In
12     addition, because there are potentially hundreds of thousands of class members, trying the
13     class members’ liability claims separately would not serve judicial economy. Resolving
14     the liability issue for potentially hundreds of thousands of class members in one proceeding
15     would leave only the damages questions for any individual actions that followed. For these
16     reasons, the Court certifies an issues class on liability with respect to Plaintiffs’ remaining
17     claims under the CLRA and for intentional misrepresentation and concealment.
18                                IV.    CONCLUSION AND ORDER
19           For the reasons set out above, the Court GRANTS IN PART AND DENIES IN
20     PART the parties’ motions for summary judgment [Dkts. 140, 143] and GRANTS
21     IN PART AND DENIES IN PART Plaintiffs’ motion for class certification [Dkt. 144].
22     The Court CERTIFIES a class of consumers solely with respect to the issue of liability,
23     which is defined as follows:
24                  All persons in California––except for persons who enrolled in
25                  Marriott’s “Bonvoy” rewards program on or after April 24,
                    2015––who reserved or booked a Marriott managed or
26                  franchised hotel room online through the Marriott.com website
27                  or Marriott mobile app and who paid a resort fee, destination fee,
                    amenity fee, or destination amenity fee on or after September 9,
28                  2015 and until the Class is certified excluding Defendant and
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1                   Defendant’s officers, directors, employees, agents and affiliates,
                    the Court and its staff, and attorneys appearing in this action.
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3      The Court appoints Lead Plaintiffs as class representatives and the Law office of Ronald
4      A. Marron, the Law Office of Robert L. Teel, and Bursor & Fisher, P.A. as class counsel.
5            Because the parties did not explicitly address the following issues in their briefing,
6      the Court will also allow motions for reconsideration with respect to the following
7      conclusions in this order: (1) Plaintiffs do not have standing to seek an injunction, see supra
8      Section III.A; (2) the Court does not have equitable jurisdiction over Plaintiffs’ requests
9      for equitable remedies, see supra Section III.B; (3) Plaintiffs’ negligent misrepresentation
10     claim fails under Plaintiffs’ theory of inadequate resort fee disclosures, see supra Section
11     IV.B; and (4) Plaintiffs have failed to meet their threshold burden to show that application
12     of California law to the proposed nationwide class is constitutional, see supra Section V.B.
13     Should the parties choose to file such motions, opening briefs limited to ten pages are due
14     by April 14, 2023; opposition briefs limited to five pages are due by April 21, 2023. No
15     reply briefs are to be submitted. The hearing on these motions is scheduled for April 26,
16     2023, at 9:00 a.m., but the Court will take any motions for reconsideration on these issues
17     under submission without oral argument.
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19           IT IS SO ORDERED.
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21     Dated: March 30, 2023
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